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   14
        [Additional Counsel listed in Signature Page]
   15
        Plaintiffs’ Interim Co-Lead Class Counsel
   16

   17                       UNITED STATES DISTRICT COURT
   18                     CENTRAL DISTRICT OF CALIFORNIA
   19   IN RE: NATIONAL FOOTBALL                    CASE NO.: 2:15-ml-02668−PSG (JEMx)
        LEAGUE’S “SUNDAY TICKET”
   20   ANTITRUST LITIGATION                        DISCOVERY MATTER
   21                                               DECLARATION OF EDWARD
        THIS DOCUMENT RELATES TO ALL                DELMAN IN SUPPORT OF JOINT
   22   ACTIONS                                     STIPULATION REGARDING
                                                    PLAINTIFFS’ MOTION TO
   23                                               COMPEL PRODUCTION OF
                                                    DOCUMENTS BY NFL
   24                                               DEFENDANTS
   25                                               Magistrate Judge: Hon. John E.
                                                    McDermott
   26                                               Date/Time: January 11, 2022 at 10:00
                                                    a.m.
   27                                               Discovery Cutoff Date: 5/15/2022
                                                    Pretrial-Conference Date: TBD
   28                                               Trial Date: TBD
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    1           I, Edward Delman, declare under penalty of perjury that the following is true
    2   and correct:
    3           1.     I am over the age of twenty-one (21) years and am an associate in the
    4   firm of Susman Godfrey LLP. I am counsel of record for Plaintiffs Ninth Inning,
    5   Inc., 1465 Third Avenue Restaurant Corp., Robert Gary Lippincott, Jr., and
    6   Michael Holinko in the above-captioned litigation. I submit this declaration in
    7   support of the Joint Stipulation Regarding Plaintiffs’ Motion to Compel Production
    8   of Documents by NFL Defendants.
    9           2.     I am competent to testify as to the matters stated herein, have personal
   10   knowledge of the facts and statements in this declaration, and each of the facts and
   11   statements is true and correct.
   12           3.     Attached hereto as Exhibit 1 is a copy of the Court’s scheduling order
   13   in this case pursuant to Local Civil Rule 37-2. Exhibit 1 is a true and correct copy
   14   of the Court’s Order filed on January 12, 2021. See Dkt. 294.
   15           4.     Attached hereto as Exhibit 2 is a copy of the Court’s Order Regarding
   16   Modifications to Scheduling Order. Exhibit 2 is a true and correct copy of the
   17   Court’s Order filed on November 29, 2021. See Dkt. 363.
   18           5.     Attached hereto as Exhibit 3 is a true and correct copy of the Rule 37-1
   19   letter Plaintiffs’ counsel sent to the NFL Defendants’ counsel on November 8,
   20   2021.
   21           6.     Attached hereto as Exhibit 4 is a true and correct copy of a Letter
   22   Agreement between the NFL, NFL Productions LLC, NFL Enterprises LLC, and
   23   CBS Broadcasting Inc., dated March 16, 2021, and produced as NFL_0458529.
   24           7.     Attached hereto as Exhibit 5 is a true and correct copy of a Letter
   25   Agreement between the NFL, NFL Productions LLC, NFL Enterprises LLC, and
   26   NBCUniversal Media, LLC, dated March 16, 2021, and produced as
   27   NFL_0458574.
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    1         8.     Attached hereto as Exhibit 6 is a true and correct copy of a Letter
    2   Agreement between the NFL, NFL Productions LLC, NFL Enterprises LLC, NFL
    3   International Licensing, Inc., ESPN, Inc., and American Broadcasting Companies,
    4   Inc., dated March 18, 2021, and produced as NFL_0458617.
    5         9.     Attached hereto as Exhibit 7 is a true and correct copy of a Letter
    6   Agreement between the NFL, NFL Productions LLC, NFL Enterprises LLC, and
    7   Fox Corporation, dated March 18, 2021, and produced as NFL_0458699.
    8         10.    Attached hereto as Exhibit 8 is a true and correct copy of the National
    9   Football League Amazon Thursday Night Package Production and Distribution
   10   Agreement, produced as NFL_0458755.
   11         I declare under penalty of perjury under the laws of the United States of
   12   America that the foregoing is true and correct.
   13         Signed this 14th day of December 2021 in New York, New York.
   14                                                      /s/ Edward Delman
   15                                                      Edward Delman
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